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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
 JILL STEIN, et al.,                                :
                                                    :   CIVIL ACTION
                                                    :
                               Plaintiffs,
                                                    :
                       v.                           :   No. 16-cv-6287(PD)
 KATHY BOOCKVAR, in her official capacity           :
 as Secretary of the Commonwealth, and              :
 JONATHAN MARKS, in his official capacity           :
 as Commissioner of the Bureau of                   :
 Commissions, Elections and Legislation,            :
                                                    :
                               Defendants.          :
                                                    :
                                                    :

                                    [PROPOSED] ORDER



       AND NOW, this ______ day of January, 2020, upon consideration of the Intervenors’

Motion in Limine to limit testimony and evidence submitted by Plaintiffs at the January 21, 2020

evidentiary hearing, it is hereby ordered that the Motion is GRANTED, and Plaintiffs are

prohibited from submitting evidence or testimony, questioning, referring to, or mentioning:

       (1) The Philadelphia City Controller’s voting technology procurement investigation and

           the accompanying Report; and

       (2) Details of the City of Philadelphia’s selection and acquisition of the current voting

           system other than the timeline under which that system was procured and

           implemented.

                                                             __________________________
                                                             Paul S. Diamond, J.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                    :
 JILL STEIN, et al.,                                :
                                                    :   CIVIL ACTION
                                                    :
                               Plaintiffs,
                                                    :
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 as Commissioner of the Bureau of                   :
 Commissions, Elections and Legislation,            :
                                                    :
                               Defendants.          :
                                                    :
                                                    :


    INTERVENORS’ MOTION IN LIMINE TO PRECLUDE TESTIMONY AND
     EVIDENCE REGARDING THE SUBSTANCE OF AND CONTROLLER’S
INVESTIGATION AND REPORT CONCERNING PHILADELPHIA’S SELECTION OF
                      THE EXPRESSVOTE XL

       Intervenors, the Philadelphia County Board of Elections and the City of Philadelphia

(together, “Intervenors”), by and through their undersigned counsel, move in limine for this

Court to enter an order barring, precluding, and prohibiting Plaintiffs from submitting evidence

or testimony, questioning, or mentioning

       1. the Philadelphia City Controller’s voting technology procurement investigation and
          the accompanying Report; or

       2. details of the City of Philadelphia’s selection and acquisition of the current voting
          system other than the timeline under which that system was procured and
          implemented

during the evidentiary hearing on Plaintiffs’ Motion to Enforce the Settlement Agreement (ECF

112), to be held on January 21, 2020, and precluding Plaintiffs, their counsel, and their witnesses
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from referring to such evidence during the hearing. The grounds for this motion are set forth in

the accompanying Memorandum of Law.

       WHEREFORE, Intervenors respectfully request that the Court grant Intervenors’ Motion

in Limine.


                                             CITY OF PHILADELPHIA LAW DEPARTMENT
                                             Marcel S. Pratt, City Solicitor

Date: January 15, 2020                       By: /s/ Benjamin H. Field
                                             BENJAMIN H. FIELD (PA ID No. 204569)
                                             Divisional Deputy City Solicitor
                                             DANIELLE WALSH (PA ID No. 312438)
                                             Deputy City Solicitor
                                             MICHAEL PFAUTZ (PA ID No. 325323)
                                             Assistant City Solicitor
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                                             1515 Arch Street, 15th Floor
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                                             Phone: (215) 683-5024

                                                    Counsel for Intervenors




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
 JILL STEIN, et al.,                                 :
                                                     :   CIVIL ACTION
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 as Commissioner of the Bureau of                    :
 Commissions, Elections and Legislation,             :
                                                     :
                               Defendants.           :
                                                     :
                                                     :

               MEMORANDUM OF LAW IN SUPPORT OF
    INTERVENORS’ MOTION IN LIMINE TO PRECLUDE TESTIMONY AND
     EVIDENCE REGARDING THE SUBSTANCE OF AND CONTROLLER’S
INVESTIGATION AND REPORT CONCERNING PHILADELPHIA’S SELECTION OF
                      THE EXPRESSVOTE XL

I.     INTRODUCTION

       Less than a year before the 2020 General Election, Plaintiffs brought their motion to

enforce the settlement agreement in this case seeking to compel the Commonwealth to decertify

the voting system Philadelphia procured in 2019 and used in the November 2019 General

Election. Plaintiffs’ requested relief would have the effect of prohibiting Philadelphia from

using its voting system and require Philadelphia to have in place completely new system and

election day procedures for the upcoming Presidential Election. The City of Philadelphia and the

Philadelphia County Board of Elections (collectively, “Philadelphia”), moved to intervene

because of the effect Plaintiffs’ requested relief would have on Philadelphia voters in the coming

elections as well as the impact on Philadelphia’s resources, past efforts, and finances given

Plaintiffs’ severe delay in bringing their motion. Plaintiffs opposed Philadelphia’s intervention,



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in part on the ground that Philadelphia’s selection of the ExpressVote XL was somehow

improper, citing a report by the Philadelphia City Controller.

       This Court granted Philadelphia’s intervention and set an evidentiary hearing for January

21, 2020 [ECF 136] to address specific factual questions including the effect of granting

Plaintiffs’ Motion on voting in the November 2020 election. While the steps and corresponding

time required for the procedure through which Philadelphia procures voting systems are relevant

to this topic, the substantive reasons Philadelphia selected the ExpressVote XL (and criticism

thereof) are not relevant to that topic or any other specified by the Court. Given Plaintiffs’

previous proffer of this irrelevant information and the Court’s specific instructions regarding the

relevant factual questions, Intervenors move in limine to exclude any evidence or inquiry into the

substance of Philadelphia’s procurement of the ExpressVote XL as irrelevant and beyond the

scope of the hearing.

II.    LEGAL ARGUMENT

       The Court should preclude any testimony of evidence regarding the substance of

Philadelphia’s selection of the ExpressVote XL. In its December 20, 2019 Order [ECF 136], the

Court detailed the relevant factual questions for the upcoming hearing as follows:

       a. What did the Parties to the November 28, 2018 Settlement Agreement mean
          when they employed the following terms in the Agreement: “paper ballot,”
          “voter-verifiable record of each vote,” and “capable of supporting a robust
          pre-certification auditing process”;

       b. In the months leading up to the November 28, 2018 Settlement Agreement,
          what were the Parties’ communications regarding the type of voting machine
          systems the Department of State was considering, and Plaintiffs’ evaluation,
          comments, or criticisms of these systems;

       c. When did the Secretary first certify the ExpressVote XL system;

       d. When did Plaintiffs first object to the ExpressVote XL system;




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       e. What did Plaintiffs know about the ExpressVote XL system when the
          Department of State apparently first considered it in September 2018;

       f. Does the challenged ExpressVote XL system’s methods of collecting and
          tabulating votes comport with the Settlement Agreement;

       g. Why did Plaintiffs wait until November 26, 2019 to file their Motion to
          Enforce the Agreement; and

       h. What effect would granting Plaintiffs’ Motion have on voting in the
          November 2020 Election.

Plaintiffs’ briefs in this matter included evidence and argument unrelated to these questions.

Specifically, Plaintiffs critiqued Philadelphia’s decision to procure the ExpressVote XL voting

machines at length in their Response to Philadelphia’s briefing [ECF 140] and attached the

Philadelphia City Controller’s Voting Technology Investigation Report (the “Report”) critiquing

the process as moving too fast. [Id., ex. A.] And instead of identifying witnesses in their Pre-

Evidentiary Hearing Memorandum [ECF 143] who could address the effect decertifying the

ExpressVote XL might have on the 2020 General Election, Plaintiffs sought leave to call their

undisclosed witnesses only after the City’s presentation. When Intervenors raised this issue with

Plaintiffs during a telephone conference on January 10, 2020, Plaintiffs indicated only they did

not anticipate introducing evidence on Philadelphia’s past procurement process.

       The Controller’s Report and, more generally, any evidence or inquiry into the substantive

reasons Philadelphia selected the ExpressVote XL are not relevant to this hearing. These topics

have no bearing on the Parties’ interpretation and compliance with the Settlement Agreement

and impact decertification now would have on the 2020 General Election. The only aspects of the

selection and procurement process of the ExpressVote XL that may be relevant are the timeline

for and required steps in the process because they bear on the procurement process Philadelphia




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may need to undertake were the Court to order that the ExpressVote XL be decertified. 1

Similarly, the necessary steps, and corresponding timeline, for the Philadelphia County Board of

Elections to implement a new voting system would also be relevant to the Court’s question

regarding the impact of such a change on the November 2020 General Election. While these

procedural aspects of procurement and implementation of the ExpressVote XL are relevant to the

Court’s inquiry, the substantive decision to select the ExpressVote XL is not, and any evidence

or inquiry into the substantive aspects of the procurement should be excluded.

       Given Plaintiffs’ positions in this litigation and Plaintiffs’ ambiguous response,

Intervenors believe the relief requested here is appropriate. Plaintiffs’ requested relief has

shifted from immediate decertification of the ExpressVote XL [ECF 112 at 13] to decertification

of the ExpressVote XL before the 2020 general election [ECF 133 at 15] to – most recently in

their Pre-Evidentiary Hearing Memorandum – decertification on “an appropriate timetable to

avoid disruption to impending elections”. [ECF 143 at 4]. These changes in Plaintiffs’ position

as well as Plaintiffs’ ambiguous indication of their factual presentation impacts Intervenors’

preparation of their presentation. Given Plaintiffs’ approach, and Intervenors’ need to

adequately prepare its evidentiary presentation, it is essential and appropriate for the Court to

reinforce what it deems to be relevant, permissible evidence for the evidentiary hearing.




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  That is why Intervenors and Defendants addressed portions of the ExpressVote XL
procurement process in opposing Plaintiffs’ motion. (E.g., Nesmith-Joyner Decl. [ECF 123-3]).
While Intervenors cited to the incredible expenditure on new voting machines as an interest for
intervention [ECF 131 at 11], laches attaches from the Plaintiffs’ delay in filing and Philadelphia
needing to implement a new voting system in an unreasonable timeframe, regardless of the
previous procurement expense.


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III.   CONCLUSION

       For the foregoing reasons, Intervenors respectfully request that this Court grant the

Intervenors’ Motion in Limine and exclude testimony and evidence of the City Controller’s

investigation and report and the ExpressVote XL selection and procurement process, other than

information regarding the timeline required for that process, from the January 21, 2020

evidentiary hearing.



                                             Respectfully submitted,

                                             CITY OF PHILADELPHIA LAW DEPARTMENT
                                             Marcel S. Pratt, City Solicitor

Date: January 15, 2020                       By: /s/ Benjamin H. Field
                                             BENJAMIN H. FIELD (PA ID No. 204569)
                                             Divisional Deputy City Solicitor
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                                                     Counsel for Intervenors




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                                    CERTIFICATE OF SERVICE


       I hereby certify that, on the date set forth below, I served a true and correct copy of the

foregoing Motion in Limine upon all counsel of record via ECF system and the foregoing

document is available for viewing and/or downloading pursuant to the Court’s ECF system and

is served pursuant to FRCP Rule 5(b) and Local Civil Rule 5.1.2.




                                      BY:     /s/ Michael Pfautz
                                              Assistant City Solicitor




Dated: January 15, 2020




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